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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
                                                               :
In re                                                          :         Chapter 11
                                                               :
SEARS HOLDINGS CORPORATION, et al.,                            :         Case No. 18-23538 (RDD)
                                                               :
                  Debtors.   1                                 :         (Jointly Administered)
                                                               :
---------------------------------------------------------------x

          NOTICE OF CANCELLATION AND RESCHEDULING OF HEARING ON
      (I) CONFIRMATION OF MODIFIED SECOND AMENDED JOINT CHAPTER 11
     PLAN OF SEARS HOLDINGS CORPORATION AND ITS AFFILIATED DEBTORS
     AND (II) MOTION OF DEBTORS FOR MODIFICATION OF RETIREE BENEFITS

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    The Debtors in the Chapter 11 Cases along with the last four digits of each Debtor’s federal tax identification number,
    are as follows: Sears Holdings Corporation (0798); Kmart Holding Corporation (3116); Kmart Operations LLC
    (6546); Sears Operations LLC (4331); Sears, Roebuck and Co. (0680); ServiceLive Inc. (6774); SHC Licensed
    Business LLC (3718); A&E Factory Service, LLC (6695); A&E Home Delivery, LLC (0205); A&E Lawn & Garden,
    LLC (5028); A&E Signature Service, LLC (0204); FBA Holdings Inc. (6537); Innovel Solutions, Inc. (7180); Kmart
    Corporation (9500); MaxServ, Inc. (7626); Private Brands, Ltd. (4022); Sears Development Co. (6028); Sears
    Holdings Management Corporation (2148); Sears Home & Business Franchises, Inc. (6742); Sears Home
    Improvement Products, Inc. (8591); Sears Insurance Services, L.L.C. (7182); Sears Procurement Services, Inc.
    (2859); Sears Protection Company (1250); Sears Protection Company (PR) Inc. (4861); Sears Roebuck Acceptance
    Corp. (0535); SR – Rover de Puerto Rico, LLC (f/k/a Sears, Roebuck de Puerto Rico, Inc.) (3626); SYW Relay LLC
    (1870); Wally Labs LLC (None); SHC Promotions LLC (9626); Big Beaver of Florida Development, LLC (None);
    California Builder Appliances, Inc. (6327); Florida Builder Appliances, Inc. (9133); KBL Holding Inc. (1295); KLC,
    Inc. (0839); Kmart of Michigan, Inc. (1696); Kmart of Washington LLC (8898); Kmart Stores of Illinois LLC (8897);
    Kmart Stores of Texas LLC (8915); MyGofer LLC (5531); Rover Brands Business Unit, LLC (f/k/a Sears Brands
    Business Unit Corporation) (4658); Sears Holdings Publishing Company, LLC. (5554); Sears Protection Company
    (Florida), L.L.C. (4239); SHC Desert Springs, LLC (None); SOE, Inc. (9616); StarWest, LLC (5379); STI
    Merchandising, Inc. (0188); Troy Coolidge No. 13, LLC (None); BlueLight.com, Inc. (7034); Sears Brands, L.L.C.
    (4664); Sears Buying Services, Inc. (6533); Kmart.com LLC (9022); Sears Brands Management Corporation (5365);
    and SRe Holding Corporation (4816). The location of the Debtors’ corporate headquarters is 3333 Beverly Road,
    Hoffman Estates, Illinois 60179.




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                PLEASE TAKE NOTICE that the hearing to consider (1) confirmation of the

Modified Second Amended Joint Chapter 11 Plan of Sears Holdings Corporation and Its Affiliated

Debtors (the “Confirmation Hearing”) and (2) the Motion of Debtors for Modification of Retiree

Benefits (the “1114 Hearing” together, with the Confirmation Hearing, the “Hearing”) originally

scheduled for September 27, 2019 at 11:00 a.m. (prevailing Eastern Time) and October 3, 2019 at

10:00 a.m. (prevailing Eastern Time) will go forward on October 3, 2019 at 10:00 a.m. (prevailing

Eastern Time). The hearing scheduled for September 27, 2019 at 11:00 a.m. has been cancelled.

                PLEASE TAKE FURTHER NOTICE that the short adjournment of the Hearing is

intended to facilitate ongoing, productive negotiations with an ad hoc group of administrative expense

claimants regarding resolution of confirmation objections and a framework to expedite the

chapter 11 plan effective date. The Debtors believe that the brief adjournment will provide the parties

in interest with the time necessary to finalize discussions, file supplemental pleadings describing the

settlement (should it be finalized), with sufficient time for the Court and stakeholders to review, and

is in the overall best interests of these estates.

                PLEASE TAKE FURTHER NOTICE that the Hearing will be held before the

Honorable Robert D. Drain, United States Bankruptcy Judge, at the United States Bankruptcy Court

for the Southern District of New York, Courtroom 118, 300 Quarropas Street, White Plains,

New York, 10601-4140.

                PLEASE TAKE FURTHER NOTICE that the Confirmation Hearing may be

continued from time to time by the Court or the Debtors without further notice other than through

adjournments announced in open Court or as indicated in any notice filed with the Court.




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               PLEASE TAKE FURTHER NOTICE that any objecting parties are required to

attend the Hearing, and failure to appear may result in relief being granted upon default.


Dated: September 25, 2019
       New York, New York
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